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LABO0321
.(FLU:KCPB)
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA, Hon. Stanley R. Chesler
Plaintiff, CR NO. 04-11
Vv,
APPLICATION AND ORDER
GEORGE VIEIRA, FOR WRIT OF CONTINUING
GARNISHMENT
Defendant,
and

WILLIAMS RESOURCE & ASSOCIATES
and its successors or assigns,
Garnishee.
The United States of America, plaintiff, makes this application in accordance with 28 |

U.S.C. § 3205(b)(1) to the Clerk of the United States District Court to issue a Writ of
Continuing Garnishment upon the judgment entered against the defendant, George Vieira,
social security number *******4216, whose last known address is: Oakdale, CA 95361 in the
above cited action in the amount of $6,648,250.35, plus interest at the rate of 0% per annum
and penalties.

The total balance due and owing as of June 14, 2010 is $6,647,750.35.

Demand for payment of the above-stated debt was made upon the debtor not less than

 

 
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30 days from June 14, 2010, and debtor has failed to satisfy the debt.
The Garnishee is believed to owe or will owe money or wages to the judgment debtor.
More specifically, the Garnishee is the employer of the defendant, George Vieira, and its
successors or assigns. This Writ of Continuing Garnishment is intended to compel the
Garnishee to pay to the United States twenty-five percent (25%) of the disposable earnings of
defendant, George Vieira, pursuant to 28 U.S.C. § 3002(9).
The name and address of the Garnishee or his authorized agent is:
Williams RESOURCE & Associates
1615 Orange Tree Lane
Suite 201
Redlands, CA 92374

Based upon the foregoing, the United States respectfully requests the Court to enter an

Order directing the Clerk of the United States District Court to issue a Writ of Continuing

Garnishment.

PAUL J. FSHMAN
United States Attorney

By: EAH A¥BYNON
Assistant U.S. Attorney

ye

ITIS, onthis_ “/  dayofZ

 

ORDERED, that the Clerk of the Court shall issue the Writ of Continuing

Garnishment. Ze =

 

HON. STANLEY R. CHESLER, JUDGE
UNITED STATES DISTRICT COURT

 

 
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LAB0321
(FLU: KCPB)
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA, Hon. Stanley R. Chesler
Plaintiff CRNO. 04-11
v.
WRIT OF CONTINUING
GEORGE VIEIRA, GARNISHMENT
Defendant,
and

WILLIAMS RESOURCE & ASSOCIATES,
and its successors or assigns,

Garnishee.

GREETINGS TO: = Williams RESOURCE & Associates

1615 Orange Tree Lane

Suite 201

Redlands, CA 92374

An Order Granting Application of the United States for a Writ of Continuing

Garnishment against the property of George Vieira, defendant, has been filed with this Court.
A judgment has been entered against the above-named defendant in the amount of

$6,648,250.35, plus interest and penalties, computed through June 14, 2010.

You are required to begin withholding in accordance with this garnishment from the

 

 
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date you were served with these papers.

You are required by law to answer in writing, under oath, within ten (10) days, whether
or not you have in your custody, control or possession, any property owned by the debtor,
including non-exempt, disposable earnings.

Please state whether or not you anticipate paying the debtor any future payments and
whether such payments are weekly, bi-weekly or monthly.

You must file the original written answer to this writ within ten (10) days of your receipt
of this writ with the United States District Clerk at: Fisher Federal Courthouse, 402 East State
Street, Trenton, N.J. 08608. Additionally, you are required by law to serve a copy of this writ
upon the debtor and upon the United States Attorney, 970 Broad Street, 7th Floor, Newark, NJ
07102.

Under the law, there is property which is exempt from this Writ of Continuing
Garnishment. Property which is exempt and which is not subject to this order is listed on the
attached Claim for Exemption form.

Pursuant to 15 U.S.C. §1674, Garnishee is prohibited from discharging the defendant
from employment by reason of the fact that his/her earnings have been subject to garnishment
for any one indebtedness.

You shall withhold and retain any wages, monies and/or commissions payable to the
defendant George Vieira , in which the debtor has a substantial nonexempt interest and for
which you are or may become indebted to the judgment debtor pending further order of the
court, If you fail to answer this writ or withhold property in accordance with this writ, the

United States of America may petition the Court for an order requiring you to appear before the

Court. If you fail to appear or do appear and fail to show good cause why you failed

 

 
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to comply with this writ, the Court may enter a judgment against you for the value of the
debtor's non-exempt property. It is unlawful to pay or deliver to the defendant any item attached

by this writ.

DATED: #RYVO WILLIAM T. WALSH

STATES DISTRICT y CLERK
By: eZ Y-

EPOUTY CLERK

 

 
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LABO321
(FLU:KCPB)
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA, Hon. Stanley R. Chesler
Plaintiff, CR NO. 04-11
v.
GEORGE VIEIRA, CLERK'S NOTICE OF
POST-JUDGMENT
Defendant, GARNISHMENT
and

WILLIAMS RESOURCE & ASSOCIATES,
and its successors or assigns,

Garnishee.

TO THE ABOVE-NAMED DEFENDANT AND ALL OTHER PERSONS INTERESTED:

You are hereby notified that the non-exempt earnings are being taken by the United
States of America which has a Court judgment in Criminal No. 04-11 in the sum of
$6,648,250.35. A balance of $6,647,750.35 remains outstanding.

In addition, you are hereby notified that there are exemptions under the law which may
protect some of the property from being taken by the Government if George Vieira can show
that the exemptions apply. Attached is a summary of the exemptions which are applicable
pursuant to 18 U.S.C. § 3613(a).

If you are George Vieira you have a right to ask the court to return your property to you
if you think you do not owe the money to the Government that it says you do, or if you think
the property the Government is taking qualifies under one of the above exemptions.

The instructions for objection to the Answer of the Garnishee and for obtaining a
hearing on the objections are set forth in the "Notice of Garnishment and Instructions to the

 
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Above-named Defendant" served upon you by the United States of America.

If you want a hearing, you must notify the court within 20 days after receipt of the
notice. Your request must be in writing.

If you wish, you may use this notice to request the hearing by completing the Request
for Hearing Form which is attached to the Writ of Continuing Garnishment. You must either
mail it or deliver it in person to the Clerk of the United States District Court at the Fisher
Federal Courthouse, 402 East State Street, Trenton, N.J. 08608. You must also send a copy of
your request to the United States Attorney at 970 Broad Street, 7th Floor, Newark, NJ 07102,
so the Government will know you want a hearing.

The hearing will take place within 5 days after the Clerk receives your request, if you
ask for it to take place that quickly, or as soon after that as possible.

At the hearing you may explain to the judge why you think you do not owe the money
to the Government. If you do not request a hearing within 20 days of receiving this notice, a
Court Order will be entered attaching the wages, monies, and/or commissions which will then
be applied against the judgment owed the Government.

If you think you live outside the Federal judicial district in which the court is located,
you may request, not later than 20 days after you receive this notice, that this proceeding to take
your property be transferred by the court to the Federal judicial district in which you reside.
You must make your request in writing, and either mail it or deliver it in person to the Clerk of
the District Court at the Fisher Federal Courthouse, 402 East State Street, Trenton, N.J. 08608.
You must also send a copy of your request to the United States Attorney at 970 Broad Street,
7th Floor, Newark, NJ 07102, so the Government will know you want the proceeding to be
transferred.

Be sure to keep a copy of this notice for your own records. If you have any questions
about your rights or about this procedure, you should contact a lawyer, an office of public legal
assistance, or the clerk of the court. The clerk is not permitted to give legal advice, but can
refer you to other sources of information.

LIAM T. WALSH

K, U.S, DISTRICT COURT,
By: At LS Aetvo/

Dgputy Clerk

 

 
